Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   The Thomas L. Pearson and
   The Pearson Family Members Foundation,

                  Plaintiff and Counterclaim
                  Defendant,

          v.

   The University of Chicago,                                     Case No.: 18-CV-99-GKF-FHM

                  Defendant and Counterclaimant,

          v.

   Thomas L. Pearson,

                  Counterclaim Defendant.


          THE THOMAS L. PEARSON AND THE PEARSON FAMILY MEMBERS
         FOUNDATION’S RESPONSE TO DEFENDANT’S SUPPLEMENT BRIEF IN
                OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL


                 The Foundation Needs the Discovery it Seeks for its Case in Chief

          For all the reasons stated in its Supplemental Brief of April 12, 2019 (Doc. 73) and Motion

   to Compel briefing (Docs. 54 and 58), the Foundation needs the documents and other discovery it

   seeks regarding the hiring of the chaired professors for The Pearson Institute in order to prove its

   affirmative case at trial. Nothing that the University has said in its Supplemental Brief (Doc. 74)

   even addresses this point. The Foundation is the plaintiff, and it is entitled to discovery in order to

   meet its burden of proof. The discovery is relevant to (1) the agreed upon hiring standard – which

   is now a contested issue of fact; (2) whether the University met that hiring standard; (3) whether

   the University met even its own hiring process requirements; and (4) whether, in the context of the

   Foundation’s claim that the University breached its duty of good faith and fair dealing, the
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 2 of 7




   University’s conduct in the hiring process was consistent with the reasonable expectations of the

   Foundation.

     The University Intends to Offer Partial Proof on Various Matters Without Allowing the
                  Foundation to Take Discovery on Those Same Subject Areas

          The University’s Supplemental Brief takes the position that at trial it plans to use evidence

   of the faculty hiring process—to the extent advantageous for the University—but will not provide

   any discovery to the Foundation that (i) would allow the Foundation to use document review (and

   other information gathering in discovery) to conduct meaningful cross examination of the

   University’s witnesses or (ii) would be useful and necessary to the Foundation’s affirmative case.

          This Court anticipated exactly this outcome and required that the University show its hand.

   In its Minute Sheet entry of March 13, 2019, the University was directed to disclose in its

   Supplemental Brief: “…[W]hether defendant will rely in any litigation on its internal evaluation

   process, including the fact that the process occurred, or information from the internal evaluation

   process.” (Doc. 70). In fact, the University has now had to admit that it plans to offer proof in these

   categories: “…[T]he University intends to rely on the information it produces concerning faculty

   qualifications, its guidelines for faculty appointments, and the fact that a faculty evaluation process

   occurred.” (Doc. 74 at 2).

          In other words, the University proposes to limit discovery in order to hobble the

   Foundation’s efforts to learn whether the University acted in good faith or met any standard in its

   hiring of the chaired professors for The Pearson Institute. If the University has its way, it will both

   unfairly stymie the Foundation from developing its affirmative case, and, with regard to each of

   the three subject areas that it has identified in response to the Court’s instruction, prevent the

   Foundation from developing meaningful cross examination of the University. In short, the




                                                     2
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 3 of 7




   University proposes cherry-picking the most favorable evidence for itself to use at trial while

   limiting the Foundation’s discovery on the topics it has selected.

          Regarding the subject area category of “faculty qualifications” identified in the Court’s

   March 13 Minute Sheet, the University has now stated that it intends to produce only the CVs of

   those faculty, but not any of the analysis, commentary, or interpretation by the University of how

   those CVs were translated or evaluated by the University. Nor will the University, if it has its way,

   produce any other information, including information about alternative candidates it evaluated, as

   required by the Shils Report, that it considered alongside those CVs as germane to a determination

   by the University of “faculty qualifications.” A party cannot be permitted to limit its discovery

   responses to only that which it chooses to use to advance its own case. The University’s proposal

   would turn the discovery process on its head.

          The CVs the University proposes providing raise important questions: What, in fact, are

   the qualifications of these candidates, as fully understood by the University, beyond what is

   contained in their CVs? What is the meaning of the information on those CVs, as understood by

   the University? How did the University draw its conclusions and what did it base those conclusions

   on? Were these candidates qualified for chaired professorships, or not? How did the alternative

   candidates, if any, compare to the candidates that were offered the tenured, named chaired

   positions? What the University did and said to arrive at answers to these questions is at the core

   of a significant part of this litigation and will be the subject of documentary proof from both sides

   and close cross-examination. The University did not base its purportedly good faith hiring

   decisions on CVs alone. The Foundation needs this discovery to understand the facts surrounding

   the University’s actions.

          The University also intends to offer proof of its guidelines for faculty appointments, but it

   is refusing to produce evidence regarding the question of whether those guidelines were applied

                                                    3
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 4 of 7




   and met in this case. Is the jury supposed to assume that because there were guidelines for hiring

   that those guidelines were followed? It seems to be the University’s strategy to bank on

   assumptions made by the jury based on deliberately incomplete proof. Without proof that the

   guidelines were followed, or not, how is the mere existence of guidelines probative of anything?

   The Foundation must be able to develop that proof through discovery.

          The University says that, in addition, it intends to prove that a faculty evaluation process

   occurred, but that it will not allow the Foundation to develop any information with regard to that

   process. Presumably, the University, again, hopes that the jury will simply assume that if the

   faculty evaluation process occurred, it must have met the University’s standards, or the standards

   agreed upon by the parties. The University seems to be saying that, for its purposes, the fact of a

   process will be valuable for a jury to know, without more. Certainly, the Foundation has a right to

   develop these facts, not to simply stand by while the University is allowed to manipulate

   incomplete information so that the jury will make assumptions that the University clearly seems

   to believe will work in its favor. This sort of gamesmanship is exactly what modern discovery is

   supposed to prevent.

             The University’s Argument to Bar Discovery Presumes the Outcome Regarding
                                   Contested Issues Of Fact

          The University persists in opposing the Foundation’s discovery because the University

   contends that the Foundation was excluded from “any role or authority” concerning faculty

   appointments. This argument fails to tip the scale for several reasons.

          First, the Foundation’s complaint asserts that there was an agreement between the parties

   that the appointments would be world class. Indeed, the documents attached to the Foundation’s

   Supplemental Brief reveal that the University understood and agreed with this very point. The

   University has, notwithstanding the documents produced by its own senior officer, denied this fact


                                                    4
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 5 of 7




   and contends that there was no agreement on this point. Further, it seems to be the University’s

   position that it was understood between the parties to the Grant Agreement that it is none of the

   Foundation’s business what the hiring standard was or the University applied it. There is clearly a

   factual disagreement on this point. That is when discovery is most needed. A defendant’s denial

   of an allegation in a complaint, and its assertion of a conflicting set of facts, does not serve to bar

   discovery on that disputed issue. Avent v. Solfaro, 210 F.R.D. 91, 94 (S.D.N.Y. 2002) (“Factual

   disputes are best resolved once the parties have conducted discovery and once the Court can better

   determine the case on its merits…”); see also Dixie Yarns, Inc. v. Forman, No. 91 CIV. 6449

   (CSH), 1993 WL 227661, at *4 (S.D.N.Y. June 21, 1993) (courts are reluctant to determine

   disputed or substantial issues of law prior to discovery and a hearing on the merits).

          Second, the University has now admitted, as it must, that at least some standard for the

   hiring process applies, presumably as set forth in the Shils Report, or the University’s Guidelines

   on Academic Appointments (a document that the University has now identified in its brief and will

   be producing), or some combination of those two documents. What the University really seems to

   be saying, however, is: Yes, there were standards for hiring The Pearson Institute chaired

   professors, but the Foundation has no standing to complain if those standards were not met. In fact,

   the University is saying that the Foundation cannot even ask whether the University met its own

   standards. In essence, the University’s position appears to be that it was understood and agreed

   during the negotiation of the Grant Agreement that the Foundation not only could not participate

   in the faculty selection process, but that the Foundation would be precluded from knowing whether

   the University had met its own standards for hiring, and that only the University, not the

   Foundation, would determine what those standards would be. Taken to its logical conclusion, the

   University appears to be saying that the Foundation cannot even raise a question about the process

   and has no right to be provided with honest, direct answers to its inquiries. At the very least,

                                                     5
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 6 of 7




   discovery is needed to determine whether that preposterous result is, as a matter of fact, what the

   Grant Agreement was intended to mean.

          Third, the case law cited in the Foundation’s Supplemental Brief speaks to this very point.

   As a matter of law, where discretion has been vested entirely in one party to a contract, as the

   University claims here, that does not mean that the party with that discretion can do whatever it

   likes. (See Doc. 73 at 6). At the very least, the University was obliged to perform at a level that

   met the reasonable expectations of the Foundation. The Foundation is entitled to take discovery

   on these facts.

                                              Conclusion

          The University has not put forth a legitimate basis for denying the Foundation discovery

   regarding the faculty hiring and selection process. The claims and disputed issues of fact in this

   case mandate the discovery sought. The Foundation’s Motion to Compel on this topic should be

   granted.

                                                Respectfully submitted,

                                                /s/ P. Scott Hathaway
                                                P. Scott Hathaway, OBA # 13695
                                                Isaac R. Ellis, OBA # 30072
                                                4000 One Williams Center
                                                Tulsa, OK 74172-0148
                                                Telephone: 918-586-8510 P. Scott Hathaway
                                                Facsimile: 918-586-8610 P. Scott Hathaway
                                                Telephone: 918-586-8996 Isaac Ellis
                                                Facsimile: 918-586-8322 Isaac Ellis
                                                Email:          shathaway@cwlaw.com
                                                                iellis@cwlaw.com

                                                THE THOMAS L. PEARSON AND THE PEARSON
                                                FAMILY MEMBERS FOUNDATION




                                                   6
Case 4:18-cv-00099-GKF-FHM Document 75 Filed in USDC ND/OK on 04/22/19 Page 7 of 7




                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 22nd day of April, 2019, I electronically transmitted the

      attached document to the Clerk of Court using the ECF System for filing. Based on the records

      currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following

      registrants:

      Andrew C. Baak
      Rebecca W. Bacon
      Jessica Lynn Dickerson
      Jeffrey A. Hall
      William S. Leach
      Taylor A. R. Meehan
      Faye E. Paul



                                                 /s/ P. Scott Hathaway
                                                 P. Scott Hathaway




                                                    7
